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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff
vs                                         CRIMINAL 13-0534-54CCC
54) JOSE CAMACHO-SANTIAGO,
a/k/a “Cheito,” “Cheo” (Counts ONE
through FIVE)
Defendant



                                  ORDER

     Having considered the Report and Recommendation filed on October 28,
2014 (docket entry 2202) on a Rule 11 proceeding of defendant [54] José
Camacho-Santiago before U.S. Magistrate-Judge Marcos E. López on
October 24, 2014, to which no objection has been filed, the same is
APPROVED. Accordingly, the plea of guilty of defendant is accepted. The
Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains
all elements of the offense charged in the indictment.
     This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since October 24, 2014. The sentencing
hearing is set for March 3, 2015 at 4:30 PM.
     The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
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Addendum is disclosed, state in writing whether it will insist that the unresolved
objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on November 20, 2014.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
